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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                           CRIMINAL FILE NO.
         v.                                1:09-CR-19-2-TWT
 ZACHERY ANTONIO HARRIS,
   Defendant.


                                      ORDER


      This is a criminal case.       It is before the Court of the Report and

Recommendation [Doc. 53] of the Magistrate Judge conditionally granting the Motion

to Sever of Defendant Harris. The Court approves and adopts the Report and

Recommendation of the Magistrate Judge as the judgment of the Court. The Motion

to Sever [Doc. 46] is conditionally granted.

      SO ORDERED, this 9 day of April, 2009.



                                /s/Thomas W. Thrash
                                THOMAS W. THRASH, JR.
                                United States District Judge
